  Case: 1:19-cv-00024-SJD-SKB Doc #: 23 Filed: 06/13/19 Page: 1 of 2 PAGEID #: 614



                        IN THE UNITED STATES DISTRICT COURT                              - ^         ^-
                        FOR THE SOUTHERN DISTRICT OF OHIO                                       '
                          WESTERN DIVISION (AT CINCINNATI)                            2SI9 JUm 13
                                                                                                    • ^ 2' 11
 ERIC C. DETERS                                               Case No. l:19-cv-0024


           Plaintiff
                                                              Judge Dlott
 V.



 MARK SCHWEIKERT


           Defendants




                         PLAINTIFF'S SHOW CAUSE RESPONSE




       Before I filed the lawsuit, I received input and research from lawyers here at Deters Law

and Robert Winter who handles Deters Law federal litigation in Durrani. I did not prepare and file

the lawsuit without input, research and thought. Paragraph 399 and 400 from my only claim in

the Verified Complaint was from research I was provided. In candor, we thought this was an easy

win. I only wanted access to the Courtroom and believe the law supports my position. Also, the

prayer for relief was a standard prayer. The magistrate made this significant in her report that I

requested attorney fees. I was not seeking monetary damages. I only sought access to Court under

a federal constitution claim. Nothing else.

       The Verified Complaint was filed Pro Se only because I did not want anyone spending time

on something I could do. The Verified Complaint details the outrageous, unjust and abuse by the

entire Ohio Civil Justice System including Judge Schweikert against the victims of Dr. Durrani for

context.    I stand by every fact and word.   It is tragic.     Judge Schweikert, not me, deserves

recrimination. He doesn't get any because he wears a robe. I do because I'm a suspended lawyer.
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